                                      Case 2:20-cv-00912-BJR Document 11-2 Filed 08/27/20 Page 1 of 7
                                                                                                                                                                      MCDONOR-01                  BMILLER
AWRE                                                                                                                                                                                      DATE (MM/DD/YYYY)
                                                                    CERTIFICATE OF LIABILITY INSURANCE                                 10/1/2015
    THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS
    CERTIFICATE DOES NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES
    BELOW. THIS CERTIFICATE OF INSURANCE DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED
    REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
    IMPORTANT: If the certificate holder is an ADDITIONAL INSURED,the policy(ies) must be endorsed. If SUBROGATION IS WAIVED,subject to
    the terms and conditions of the policy, certain policies may require an endorsement. A statement on this certificate does not confer rights to the
    certificate holder in lieu of such endorsement(s).
 PRODUCER                                                                                                             CONTACT
                                                                                                                      NAME
Hub International Northwest LLC                                                                                      PHONE                                                 FAX
12100 NE 195th St.                                                                                                   (A/C, No, Ext),(425)489-4500                          (A/c, No): (425) 485-8489
Suite 200                                                                                                            ADDRESS: now.info@hubinternational.com
Bothell, WA 98011
                                                                                                                                      INSURER(S) AFFORDING COVERAGE                                 NAIC #
                                                                                                                     INSURER A : Knight Specialty   Insurance Company                          15366
 I NSURED
                                                                                                                     INSURER B : Mutual   of Enumclaw Insurance Company                        14761
                         McDowell NW Pile King, Inc                                                                  INSURER C:
                         18905 84th Avenue S                                                                         INSURER D :
                         Kent, WA 98032
                                                                                                                     I NSURER E :
                                                                                                                     INSURER F :
COVERAGES                      CERTIFICATE NUMBER:
 THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD
 INDICATED. NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS
 CERTIFICATE MAY BE ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLIC ES DESCRIBED HEREIN IS SUBJECT TO ALL THE TERMS,
 EXCLUSIONS AND CONDITIONS OF SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIMS.
INSR                                                                        IADDLISUBRI                                    I POLICY EFF    POLICY EXP
 LTR                       TYPE OF INSURANCE                                I INSD : VVVD I          POLICY NUMBER                                                               LIMITS
                                                                                                                           I (MM/DD/YYYY) (MM/DD/YYYY)
A              X 1  COMMERCIAL GENERAL LIABILITY
                                                                            ,      1                                                                     EACH OCCURRENCE                           1,000,000
                                                                                                                                                                                         $
                 !:   ,,                                                           •  I
                                                                                                                                                         DAMAGETO RENTED        1
                  1    1 CLAIMS-MADE .r1 X ,1 OCCUR                         1
                                                                            i
                                                                                X 1 X KSVENA150025305
                                                                                  1   •
                                                                                                                             10/01/2015 10/01/2016       PREMISES (. a occurrence      i $             50,000
               X (STOP GAP - $1MM                                           1                                                                                                       -r
                 1                                                                                                                                       MED EXP (Any one person)        $              5,000
                                                                                                                                                         PERSONAL & ADV INJURY         _L $        1,000,000
       i_ GEN'L AGGREGATE LIMIT APPLIES PER                                                                                                              GENERAL AGGREGATE               $         2,000,000
                           I      PR0-                                                                                                               ,
                  1 POLICY I X 1 JECT                I     ; LOC                                                                                         PRODUCTS - COMP/OP AGG          $         2,000,000
                 -1
           1      1 OTHER:                                                                                                                                                               $
           I
               AUTOMOBILE LIABILITY                                                                                                                       COMBINED SINGLE LIMIT          $
                                                                                                                                                         (Ea accident)                             1,000,000
B 1 X              ANY AUTO                                                                   CPP0016839 01                  10/01/2015 10/01/2016       BODILY INJURY (Per person) 1 $
       ,         1 ALL OWNED                        SCHEDULED                                                                                                                        I—
         ....., 1 AUTOS               L.          i AUTOS                                                                                                BODILY INJURY (Per accident) $
                1                     1           1 NON-OWNED                                                                                             PROPERTY DAMAGE
                   HIRED AUTOS        '                                                                                                                  .(per accident)                 $
              T                       I        -I
                                                 i
                                                                                                                                                                                         $
                     U MBRELLA LIAB        !             I OCCUR
                                                                                                                                                         EACH OCCURRENCE
                                                                                                                                                                                       i$
       1         1   EXCESS LIAB           ,•I-          !
                                                         ', CLAIMS-MADE                                                                                  AGGREGATE                       $
                       I    -I
                DED !        1 RETENTION $                                                                                                                                             .$
         WORKERS COMPENSATION                                                             1                                                                     PER
       1 AND EMPLOYERS' LIABILITY                                                                                                                           1            I X i al- L
                                                                    Y/ N
A      1 ANY PROPRIETOR/PARTNER/EXECUTIVE                          1    j     !               KSVENA150025305               10/01/2015 10/01/2016        E.L. EACH ACCIDENT              $         1,000,000
         OFFICER/MEMBER EXCLUDED?                                         N /A!
       (Mandatory in NH)                                              - •     I                                                                          E.L. DISEASE - EA EMPLOYEE $              1,000,000
       i If yes, describe under
         DESCRIPTION OF OPERATIONS below                                                                                                                 E.L. DISEASE - POLICY LIMIT     $         1,000,000




DESCRIPTION OF OPERATIONS / LOCATIONS / VEHICLES (ACORD 101, Additional Remarks Schedule, may be attached if more space is required)
RE: ANY & ALL OPERATIONS OF THE NAMED INSURED
ADDITIONAL INSURED AS REQUIRED BY WRITTEN CONTRACT: ADAMS RESIDENTIAL CONTRACTING,INC. SEE ATTACHED ENDORSEMENTS.




CERTIFICATE HOLDER                                                                                                   CANCELLATION

                                                                                                                       SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE
                                                                                                                       THE EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN
                        ADAMS RESIDENTIAL CONTRACTING, INC.
                                                                                                                       ACCORDANCE WITH THE POLICY PROVISIONS.
                        9616 ROOSEVELT WAY NE
                        Seattle, WA 98115
                                                                                                                     AUTHORIZED REPRESENTATIVE



                                                                                                                                                    Foreman Sturm00000
                                                                                                                     © 1988-2014 ACORD CORPORATION. All rights reserved.
ACORD 25 (2014/01)                                                              The ACORD name and logo are registered marks of ACORD
           Case 2:20-cv-00912-BJR Document 11-2 Filed 08/27/20 Page 2 of 7



POLICY NUMBER:         KSVENA150025305                                    COMMERCIAL GENERAL LIABILITY
                                                                                         CG 20 37 07 04

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         ADDITIONAL INSURED - OWNERS, LESSEES OR
          CONTRACTORS COMPLETED OPERATIONS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                  SCHEDULE

        Name Of Additional Insured Person(s)                Location And Description Of Completed Opera-
                Or Organization(s):                                             tions
              As per written contract




 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


Section II — Who Is An Insured is amended to
include as an additional insured the person(s) or
organization(s) shown in the Schedule, but only with
respect to liability for "bodily injury" or "property
damage" caused, in whole or in part, by "your work"
at the location designated and described in the
schedule of this endorsement performed for that
additional insured and included in the "products-
completed operations hazard".




                                                                                  Foreman Sturm000002
CG 20 37 07 04                             © ISO Properties, Inc., 2004                               Page 1 of 1   0
   Case 2:20-cv-00912-BJR Document 11-2 Filed 08/27/20 Page 3 of 7


                                                                                    COMMERCIAL
POLICY NUMBER: KSVENA150025305
                                                                                GENERAL LIABILITY
                                                                                    CG 20 10 10 01

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




            ADDITIONAL INSURED - OWNERS, LESSEES OR
              CONTRACTORS - SCHEDULED PERSON OR
                         ORGANIZATION
   This endorsement modifies insurance provided under the following:


   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                            SCHEDULE

Name of Person or Organization:




  (If no entry appears above, information required to complete this endorsement will be shown in the
   Declarations as applicable to this endorsement.)

  A. Section II — Who Is An Insured is amended to include as an insured the person or organization
  shown in the Schedule, but only with respect to liability arising out of your ongoing operations
  performed for that insured.

  B. With respect to the insurance afforded to these additional insureds, the following exclusion is
  added:

      2. Exclusions

         This insurance does not apply to "bodily injury" or "property damage" occurring after:

            (1) All work, including materials, parts or equipment furnished in connection with such
            work, on the project (other than service, maintenance or repairs) to be performed by or
            on behalf of the additional insured(s) at the site of the covered operations has been
            completed; or

            (2)That portion of "your work" out of which the injury or damage arises has been put to
             its intended use by any person or organization other than another contractor or
            subcontractor engaged in performing operations for a principal as a part of the same
             project.




CG 20 10 10 01
                                    © ISO Properties, Inc., 2000


                                                                              Foreman Sturm000003
       Case 2:20-cv-00912-BJR Document 11-2 Filed 08/27/20 Page 4 of 7


 Policy No.: KSVENA150025305


                     KNIGHT SPECIALTY INSURANCE COMPANY

  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                  VEN 051 00 (01115)


         PRIMARY AND NON-CONTRIBUTING INSURANCE ENDORSEMENT


This endorsement modifies the Conditions provided under the following:

        COMMERCIAL GENERAL LIABILITY COVERAGE PART


Any coverage provided to an Additional Insured shall be excess over any other valid
and collectible insurance available to such Additional Insured whether primary, excess,
contingent or on any other basis unless:

    1) a written contract or written agreement specifically requires that this insurance
       apply on a primary and non-contributory basis; or

   2) prior to a loss, you request in writing and we agree that this insurance shall apply
      on a primary and non-contributory basis.




All other terms, conditions and exclusions under this policy are applicable to this
Endorsement and remain unchanged.



VEN 051 00 (01/15)                                                Forew04turm000004
            Case 2:20-cv-00912-BJR Document 11-2 Filed 08/27/20 Page 5 of 7



POLICY NUMBER:         KSVENA150025305                                    COMMERCIAL GENERAL LIABILITY
                                                                                         CG 25 03 03 97

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              DESIGNATED CONSTRUCTION PROJECT(S)
                   GENERAL AGGREGATE LIMIT
This endorsement modifies insurance provided under the following:

    COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                                   SCHEDULE

 Designated Construction Projects: Any and all projects



(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)
 A. For all sums which the insured becomes legally               4. The limits shown in the Declarations for Each
    obligated to pay as damages caused by "occur-                    Occurrence, Fire Damage and Medical Ex-
     rences" under COVERAGE A (SECTION I), and                       pense continue to apply. However, instead of
    for all medical expenses caused by accidents                     being subject to the General Aggregate Limit
     under COVERAGE C(SECTION I), which can be                       shown in the Declarations, such limits will be
    attributed only to ongoing operations at a single                subject to the applicable Designated Con-
    designated construction project shown in the                     struction Project General Aggregate Limit.
    Schedule above:                                          B. For all sums which the insured becomes legally
     1. A separate Designated Construction Project               obligated to pay as damages caused by "occur-
        General Aggregate Limit applies to each des-             rences" under COVERAGE A (SECTION 1), and
        ignated construction project, and that limit is          for all medical expenses caused by accidents
        equal to the amount of the General Aggregate             under COVERAGE C (SECTION I), which cannot
        Limit shown in the Declarations.                         be attributed only to ongoing operations at a sin-
    2. The Designated Construction Project General               gle designated construction project shown in the
        Aggregate Limit is the most we will pay for the          Schedule above:
        sum of all damages under COVERAGE A,                     1. Any payments made under COVERAGE A for
        except damages because of "bodily injury" or                 damages or under COVERAGE C for medical
        "property damage" included in the "products-                 expenses shall reduce the amount available
        completed operations hazard", and for medi-                  under the General Aggregate Limit or the
        cal expenses under COVERAGE C regard-                        Products-Completed Operations Aggregate
        less of the number of:                                       Limit, whichever is applicable; and
        a, Insureds;                                             2. Such payments shall not reduce any Desig-
        b. Claims made or "suits" brought; or                        nated Construction Project General Aggre-
                                                                     gate Limit.
        c. Persons or organizations making claims or
            bringing "suits".                                C. When coverage for liability arising out of the
                                                                 "products-completed operations hazard" is pro-
    3. Any payments made under COVERAGE A for                    vided, any payments for damages because of
        damages or under COVERAGE C for medical                 "bodily injury" or "property damage" included in
        expenses shall reduce the Designated Con-                the "products-completed operations hazard" will
        struction Project General Aggregate Limit for            reduce the Products-Completed Operations Ag-
        that designated construction project. Such               gregate Limit, and not reduce the General Ag-
        payments shall not reduce the General Ag-                gregate Limit nor the Designated Construction
        gregate Limit shown in the Declarations nor              Project General Aggregate Limit.
        shall they reduce any other Designated Con-
        struction Project General Aggregate Limit for
        any other designated construction project
        shown in the Schedule above.
                                                                                   Foreman Sturm000005
CG 25 03 03 97                  Copyright, Insurance Services Office, Inc., 1996                      Page 1 of 2     0
            Case 2:20-cv-00912-BJR Document 11-2 Filed 08/27/20 Page 6 of 7



D. If the applicable designated construction project         E. The provisions of Limits Of Insurance (SECTION
   has been abandoned, delayed, or abandoned                    ID) not otherwise modified by this endorsement
   and then restarted, or if the authorized contract-           shall continue to apply as stipulated.
   ing parties deviate from plans, blueprints, de-
   signs, specifications or timetables, the project will
   still be deemed to be the same construction
   project.




                                                                                    Foreman Sturm000006
Page 2 of 2                       Copyright, Insurance Services Office, Inc„ 1996              CG 25 03 03 97    0
           Case 2:20-cv-00912-BJR Document 11-2 Filed 08/27/20 Page 7 of 7



POLICY NUMBER: KSVENA150025305                                          COMMERCIAL GENERAL LIABILITY
                                                                                       CG 24 04 10 93

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       WAIVER OF TRANSFER OF RIGHTS OF RECOVERY
                 AGAINST OTHERS TO US
This endorsement modifies insurance provided under the following:
   COMMERCIAL GENERAL LIABILITY COVERAGE PART

                                             SCHEDULE
Name of Person or Organization: As per written contract



(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)
The TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO US Condition (Section IV — COMMER-
CIAL GENERAL LIABILITY CONDITIONS)is amended by the addition of the following:
We waive any right of recovery we may have against the person or organization shown in the Schedule above
 because of payments we make for injury or damage arising out of your ongoing operations or "your work" done
 under a contract with that person or organization and included in the "products-completed operations hazard".
This waiver applies only to the person or organization shown in the Schedule above.




                                                                                Foreman Sturm000007
CG 24 04 10 93               Copyright, Insurance Services Office, Inc., 1992               Page 1 of 1       ❑
